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             EXHIBIT 8
        Case 5:20-cv-02255-EJD Document 143-4 Filed 01/12/23 Page 2 of 5


From:             Katie Mannino (2960)
To:               Eisenbrey, Damon D.; Simon, Joshua; Incledon, Caroline; Modiano, Aaron R.; Reed, Amy; Brittany Holt Alexander
                  (2279); Chris Schneiders; Cosillos, Chelsea; Craig Caesar (1272); David DL; Dellon, Eric; Errol King (2207);
                  Haskel, Warren; Katie DL; Lavin, Matt; Cascario, Natalie L.; Collins, Richard T.; Taylor J. Crousillac (2219); Kelly,
                  Tom E.
Subject:          RE: RJ et al v CHLIC et al - Ralston Deposition
Date:             Tuesday, December 20, 2022 11:45:37 AM



[ External Email ]
That works for MultiPlan as well.

_____________________________
Katie Cicardo Mannino  
       

225-376-7960
katie.mannino@phelps.com




From: Eisenbrey, Damon D. <Damon.Eisenbrey@AGG.com>
Sent: Tuesday, December 20, 2022 10:44 AM
To: Katie Mannino (2960) <Katie.Mannino@phelps.com>; Simon, Joshua <Jsimon@mwe.com>;
Incledon, Caroline <Cincledon@mwe.com>; Modiano, Aaron R. <Aaron.Modiano@AGG.com>; Reed,
Amy <Amy.Reed@AGG.com>; Brittany Holt Alexander (2279) <Brittany.Alexander@phelps.com>;
Chris Schneiders <cschnieders@napolilaw.com>; Cosillos, Chelsea <Ccosillos@mwe.com>; Craig
Caesar (1272) <Craig.Caesar@phelps.com>; David DL <David@dllawgroup.com>; Dellon, Eric
<Edellon@mwe.com>; Errol King (2207) <Errol.King@phelps.com>; Haskel, Warren
<Whaskel@mwe.com>; Katie DL <Katie@DLlawgroup.com>; Lavin, Matt <Matt.Lavin@AGG.com>;
Cascario, Natalie L. <Natalie.Cascario@AGG.com>; Collins, Richard T. <Rich.Collins@AGG.com>;
Taylor J. Crousillac (2219) <Taylor.Crousillac@phelps.com>; Kelly, Tom E. <Tom.Kelly@AGG.com>
Subject: RE: RJ et al v CHLIC et al - Ralston Deposition

11 am ET

From: Katie Mannino (2960) <Katie.Mannino@phelps.com>
Sent: Tuesday, December 20, 2022 11:42 AM
To: Simon, Joshua <Jsimon@mwe.com>; Eisenbrey, Damon D. <Damon.Eisenbrey@AGG.com>;
Incledon, Caroline <Cincledon@mwe.com>; Modiano, Aaron R. <Aaron.Modiano@AGG.com>; Reed,
Amy <Amy.Reed@AGG.com>; Brittany Holt Alexander (2279) <Brittany.Alexander@phelps.com>;
Chris Schneiders <cschnieders@napolilaw.com>; Cosillos, Chelsea <Ccosillos@mwe.com>; Craig
Caesar (1272) <Craig.Caesar@phelps.com>; David DL <David@dllawgroup.com>; Dellon, Eric
<Edellon@mwe.com>; Errol King (2207) <Errol.King@phelps.com>; Haskel, Warren
<Whaskel@mwe.com>; Katie DL <Katie@DLlawgroup.com>; Lavin, Matt <Matt.Lavin@AGG.com>;
Cascario, Natalie L. <Natalie.Cascario@AGG.com>; Collins, Richard T. <Rich.Collins@AGG.com>;
Taylor J. Crousillac (2219) <Taylor.Crousillac@phelps.com>; Kelly, Tom E. <Tom.Kelly@AGG.com>
Subject: [EXTERNAL] RE: RJ et al v CHLIC et al - Ralston Deposition

Just to confirm – are we talking about 11 pacific/1 central? If so, then yes – MultiPlan is available.
          Case 5:20-cv-02255-EJD Document 143-4 Filed 01/12/23 Page 3 of 5



_____________________________
Katie Cicardo Mannino  
       

225-376-7960
katie.mannino@phelps.com


From: Simon, Joshua <Jsimon@mwe.com>
Sent: Tuesday, December 20, 2022 10:35 AM
To: Eisenbrey, Damon D. <Damon.Eisenbrey@AGG.com>; Incledon, Caroline
<Cincledon@mwe.com>; Modiano, Aaron R. <Aaron.Modiano@AGG.com>; Reed, Amy
<Amy.Reed@AGG.com>; Brittany Holt Alexander (2279) <Brittany.Alexander@phelps.com>; Chris
Schneiders <cschnieders@napolilaw.com>; Cosillos, Chelsea <Ccosillos@mwe.com>; Craig Caesar
(1272) <Craig.Caesar@phelps.com>; David DL <David@dllawgroup.com>; Dellon, Eric
<Edellon@mwe.com>; Errol King (2207) <Errol.King@phelps.com>; Haskel, Warren
<Whaskel@mwe.com>; Katie DL <Katie@DLlawgroup.com>; Katie Mannino (2960)
<Katie.Mannino@phelps.com>; Lavin, Matt <Matt.Lavin@AGG.com>; Cascario, Natalie L.
<Natalie.Cascario@AGG.com>; Collins, Richard T. <Rich.Collins@AGG.com>; Taylor J. Crousillac
(2219) <Taylor.Crousillac@phelps.com>; Kelly, Tom E. <Tom.Kelly@AGG.com>
Subject: RE: RJ et al v CHLIC et al - Ralston Deposition

11am tomorrow works for Cigna. Once Multiplan confirms availability we will send an invite.

JOSHUA SIMON
Partner
McDermott Will & Emery LLP  One Vanderbilt Avenue, New York, NY 10017-3852
Tel +1 212 547 5630 | Mobile +1 917 856 3095 | Email jsimon@mwe.com
Website | vCard | Twitter | LinkedIn




From: Eisenbrey, Damon D. <Damon.Eisenbrey@AGG.com>
Sent: Tuesday, December 20, 2022 11:11 AM
To: Incledon, Caroline <Cincledon@mwe.com>; Modiano, Aaron R. <Aaron.Modiano@AGG.com>;
Reed, Amy <Amy.Reed@AGG.com>; Brittany Holt <Brittany.alexander@phelps.com>; Chris
Schneiders <cschnieders@napolilaw.com>; Cosillos, Chelsea <Ccosillos@mwe.com>; Craig Caesar
<craig.caesar@phelps.com>; David DL <David@dllawgroup.com>; Dellon, Eric <Edellon@mwe.com>;
Errol King <errol.king@phelps.com>; Haskel, Warren <Whaskel@mwe.com>; Katie DL
<Katie@DLlawgroup.com>; Katie Mannino <katie.mannino@phelps.com>; Lavin, Matt
<Matt.Lavin@AGG.com>; Cascario, Natalie L. <Natalie.Cascario@AGG.com>; Collins, Richard T.
<Rich.Collins@AGG.com>; Simon, Joshua <Jsimon@mwe.com>; Taylor Crousillac
<taylor.crousillac@phelps.com>; Kelly, Tom E. <Tom.Kelly@AGG.com>
Subject: RE: RJ et al v CHLIC et al - Ralston Deposition

[ External Email ]
Caroline,

Plaintiffs dispute each of the points raised in your below letter. A substantive response will
       Case 5:20-cv-02255-EJD Document 143-4 Filed 01/12/23 Page 4 of 5


follow under separate cover, which will also address multiple deficiencies with Cigna’s
discovery responses and productions – including Cigna’s failure to produce its joint defense
agreement with Phelps Dunbar LLP and Gibson, Dunn & Crutcher LLP, and all related
communications and documents.

As you know, our office is taking two depositions in this action today. As such, we are not able
to meet and confer today via phone or in writing. Contrary to your letter, the parties have
until Thursday, December 29th (seven days after the close of discovery) to bring any discovery
disputes to the attention of the Court. Accordingly, the parties have sufficient time this week
to meet and confer before filing a joint letter.

We are available to meet and confer tomorrow at 11 am and Friday between 11 am and 2
pm. Please feel free to circulate calendar invites in accordance with our stated availability.

Regards,    


 Damon D. Eisenbrey
 Partner
                                                            

 Arnall Golden Gregory LLP
 1775 Pennsylvania Avenue NW, Suite 1000
 Washington, DC 20006
 p: 202.677.4071
 Damon.Eisenbrey@agg.com | bio | linkedin | vcard | website




From: Incledon, Caroline <Cincledon@mwe.com>
Sent: Monday, December 19, 2022 2:37 PM
To: Modiano, Aaron R. <Aaron.Modiano@AGG.com>; Reed, Amy <Amy.Reed@AGG.com>; Brittany
Holt <Brittany.alexander@phelps.com>; Chris Schneiders <cschnieders@napolilaw.com>; Cosillos,
Chelsea <Ccosillos@mwe.com>; Craig Caesar <craig.caesar@phelps.com>; Eisenbrey, Damon D.
<Damon.Eisenbrey@AGG.com>; David DL <David@dllawgroup.com>; Dellon, Eric
<Edellon@mwe.com>; Errol King <errol.king@phelps.com>; Haskel, Warren <Whaskel@mwe.com>;
Katie DL <Katie@DLlawgroup.com>; Katie Mannino <katie.mannino@phelps.com>; Lavin, Matt
<Matt.Lavin@AGG.com>; Cascario, Natalie L. <Natalie.Cascario@AGG.com>; Collins, Richard T.
<Rich.Collins@AGG.com>; Simon, Joshua <Jsimon@mwe.com>; Taylor Crousillac
<taylor.crousillac@phelps.com>; Kelly, Tom E. <Tom.Kelly@AGG.com>
Subject: [EXTERNAL] RJ et al v CHLIC et al - Ralston Deposition

Counsel,
          Case 5:20-cv-02255-EJD Document 143-4 Filed 01/12/23 Page 5 of 5


Please see the attached letter.

CAROLINE INCLEDON
Associate
McDermott Will & Emery LLP  One Vanderbilt Avenue, New York, NY 10017-3852
Tel +1 212 547 5598 | Email cincledon@mwe.com
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*******************************************************************************************************************

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